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 oo   rls[fAKH,                compraint                   AUSA Charles W.                                         12\ 469-6042
              -T                      UNITED STATES DISTRICT COURT
  Uy    NOv        2019
                                      NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION                                        Noy           o   ?   20tg

 UNITED STATES OF AiVIERICA
                                                             .ASE   NUMBER:                 Sif.9,glfrfrft,tEBEfi
                          v.
                                                            UNDERSEALI9CR
 SHELDON MORALES,
      also known as "Shock"
                                                                                                                      850
                                           c RTMTNAL       coMpLArNrft4A       G   Is TRA   iE   .f Li 1,.   fi   [ i:I   I,i   ;t IG,4 Iy

        I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
        On or about March          l,zllg,at   Chicago, in the Northern District of Illinois, Eastern Division,
the defendant(s) violated:
       Code Section                                       Offense Description
       Tit1e 21, United States Code, Section              did attempt to knowingly and intentionally
       846                                                possess with intent to distribute a iontrolled
                                                          substance, nam.ely, 500 grams or more of a
                                                          mixture and substance containing a detectable
                                                          amount of methamphetamine, a Schedule II
                                                          Controlled Substance, in violation of Title 2L,
                                                          United States Code, Section 8a1(aX1) and
                                                          (b)(r)(AXviii)

      This criminal complaint is based upon these facts:
       X   Continued on the attached sheet.


                                                               Task Force Officer, Drug Enforcement
                                                               Administration @EA)

Sworn to before me and signed in my presence.

Date: November 7,2019


City and state: Chicago.Illinois                           Sheila M. Finneean. U.S. Masistrate Judee
                                                                            Printed name ond itttO
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                     AEEIPAI4I
       I, MIKHAIL GEYER, being duly sworn, state as follows:

       1.    I   am a Task Force Officer with the Drug Enforcement Administration

("DEA") and have been so employed since approximately JuIy 2018. Prior to becoming

a Task Force Officer with the DEA, I was employed by the Evanston                      Police

Department since September of 2007.             I   am currently assigned to Chicago High

Intensity Drug Traffi.cking Area program, and my responsibilities include the

investigation of narcotics traffi.cking offenses. I have received special training in the

area of narcotics investigations. I have experience with a wid.e range of investigative

techniques, including various electronic surveillance methods, the debriefi"ng of

defendants, informants, and witnesses, as well as others who have knowled.ge of the

distribution, transportation, storage,   and.   importation of controlled. substances. I have

participated in numerous investigations involving violations of narcotics laws.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that SHELDON MORALES, also known as "Shock," has violated Tit1e 21, United
States Code, Section 846. Because this affi.davit is being submitted for the limited

purpose of establishing probable cause      in support of a criminal complaint charging

MORALES with attempt to possess methamphetamine with intent to distribute,                  I
have not included each and every fact known to me concerning this investigation.            I
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have set forth only the facts that I believe are necessary to establish probable cause

to believe that the defendant committed the offense alleged in the complaint.

      3.      This affidavit is basecl on my personal knowledge, information provid.ed

to me by other law enforcement agents information obtained from court-authorized

wire and electronic intercepts, information provided by confidential informants,
information obtained from consensually-recorded telephone calls, information

obtained from consensually-recorded in-person meetings, surveillance reports, arrest

and incident reports, laboratory reports, my training and experience, and the training

and expeiience of other law enforcement.offi.cers with whom I have consulted.

                  FACTS ESTABLISHING PROBABLE CAUSE

                                    Background

      4.      The DEA is conducting a narcotics investigation of a violent drug

traffi.cking organization operating in Evanston, Illinois., and on the north side of

Chicago. The organization,led by DARIUS MORALES and SHELDOI{ MORALES,

has been distributing heroin, fentanyl, cocaine, and methamphetamine within the

DTO's territory. Based upon confi.d.ential source information, physical surveillance,

tracking devices, ioll record"s, and recordings from court-authorized Title   III   wire

interceptions of telephone number (872) ttlftt-1,853 ("Target Phone 2"), used by      S.


MORALES,      law enforcement     offi.cers have deterr.nined   that S. MORALES
communicates with co-conspirators who supply the DTO's heroin, fentanyl, cocaine,

and methamphetamine which the DTO distributes in Evanston and on the north side

of Chicago.




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                             Information Provided by CS-l

       5.     As part of the investigation, a confid.ential source, CS-1,1 identified

DARIUS MORALES as the leader of the MORALES DTO. According to CS-1, CS-1

has known D. MORALES since childhood and has known the MORALES DTO to

traffic in narcotics for over ten years. Specifically, S. MORAIES, a known member of

the Gangster Disciples street gang, established the MORALES DTO d"uring the early

2000s, which includes individuals from the Black             P Stone street gang and the
Gangster Disciples street gang. S. MORA.LES was forced to relinquish control of the

MORALES DTO upon his 2013 conviction and incarceration for distribution of a

controlled substance.2 As a result, S. MORALES' younger n-rother, D. MORALES,

took over the day-to-day control of the MORAIES DTO. CS-l further provided that

the MORALES DTO distributes narcotics in Evanston and the north side of Chicago,


1CS-1 began cooperating in this investigabion in or around JuIy 2018, and has provided law
enforcement officers with background intelligence information regarding the MORAIES
DTO. Law enforcement has independently corroborated this information through controlled
buys, surveillance, and information received foom other confidential sources. Based on law
enforcement's controlled buys and surveillance, CS-1 has proven reliable and truthful. CS-1
has one prior felony conviction for possession of a controlled. substance. In approximately July
 2017, CS-1 delivered a controlled substance to an undercover officer in connection with this
investigation. CS-l subsequently agreed to cooperate in e:ichange for consideration regarding
these potential charges. As of August 10, 2018, the state prosecutor has adrrised that the state
will not seek charges, in part d.ue to CS-1 cooperation, and CS-1 has been so informed. CS-1
has not received any monetary compensation for cooperation in this investigation. On
December 13, 2018, CS-I was intercepted during a court-authorized wire intercept
(authorized pursuant to an order entered by this Court on November 30, 2018) discussing a
narcotics transaction for CS-1 to purchase narcotics from Demetrius Shavers (who is part of
the MORAI-ES DTO), which was not at law enforcement's direction. Accorfingly, following
the intercepted phone call, CS-l was deactivated as.a confidential source.
2OnMay l,2013, S.MORALESwasconvicted andsentencedinfederalcourtto 108months'
imprisonment for fistribution of a controlled substance. He was released foom prison on
January 12, 2018, and is currently serving a term of five years' supervised release. See Case
No. 11 CR 821, at Doc. 85 (St. Eve, J., reassigned to Feinerman, J.)
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and elsewhere    in Evanston and on the north side of Chicago. S. MORALES                  was

released from prison in January 2018, and law enforcement officers believe that he

and D. MORALES are currently running the MORALES DTO.

             S. MORALES, Co-Conspirator A, and Co-Conspirator B
              Discuss Sending S. MORALES Samples of Narcotics

        6.    On February 15, zOLg, at approximately 5;44 p.m., during a court-

authorizeds wire intercepta (call session #797), S. MORALES received an incoming

call to Target Phone 2 foom Co-Conspirator A using telephone number (702)                  ffi-
0596.

        7.    In   summary, law enforcement officers believe               that during this
conversation, S. MORALES, Co-Conspirator A, and Co-Conspirator B discussed a

narcotics transaction where Co-Conspirator A and Co-Conspirator B would sell                 S.


MORALES quantities of heroin, cocaine, and methamphetamine. Further, in ad.vance

of that   sa1e, Co-Conspirator    A and    Co-Conspirator B would. send. S. MORA.LES

samples of each narcotic so that S. MOR A.LES can determine the quality for himself.


3 On February 12, 2019, Acting Chief Judge Rebecca R. Pallmeyer issued an order
authorizing, for the period of 30 days, the interception of wire communications to and from
Target Phone 2, used by S. MORALES. The authorization did not include text messages.
a Some of the court-authorized recorded. telephone ca]ls (the "recorded conversations") have
been summarized in this Affi.davit, The language that is quoted from the recorded
conversations throughout this Affidavit is based upon a preliminary review of the recorded
conversations, and not on final transcripts of the recorded. conversations. The times listed for
the recorded conversations are approximate. The summaries do not include all statements or
topics covered. curing the course ofthe recorded conversations and include my interpretation
of words and phrases used in the recorded conversations. At various points in this Affidavit,
I have included in brackets my interpretation of words and phrases used in the recorded
conversations. My interpretations are based on information received foom CS-l, the contents
and context of the recorded conversations, events occurring before and after the
conversations, my knowled.ge of the investigation as a whole, my experience and training,
and the experience and training of other law enforcement officers in this investigation.



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Law enforcement officers further believe that S. MORALES, using Target Phone 2,

texted Co-Conspirator A an address ("the Davis Street Ad.dress") to send the narcotics

samples.

           8.      More specifically, during the conversation, Co-Conspirator A stated,

"This is me. I called you earlier about the white china [heroin]." S. MORALES stated,

'Yeah."5 Co-Conspirator A stated,, "I talked to my homeboy. He said he's gonna send

you 3 things so you can try      it out. The white grrl [cocaine]   and white china [heroin].

And" frio/hielo (cold/ice) [methamphetamine]." S. MORALES stated "What's that?" Co-

Conspirator        A responded, "Meth      [methamphetamine]. Hielo (ice)." S. MORALES

stated, 'Yeah! Yeah!" Co-Conspirator                A   stated,,   "Ice   [methamphetamine]."

S. MORALES stated, "Hey,         tetl him how much he want for the pounds of ice [ask the

unknown male how much           d.oes   he want for the pounds of methamphetamine]." Co-

Conspirator        A asked an unknown male in the background, Co-Conspirator B, in
Spanish "How much           is a pound of ice [methamphetamine]?"            Co-Conspirator B

responded in Spanish, "TeIl him [unintelligible]. Can we send you the [uninteltigible]

frrst to   see   if you like it?" S. MORALES asked, "But how much do he want for a pound

[of methamphetamine]? Ask him." Co-Conspirator               A asked Co-Conspirator B in
Spanish, "How much do you/he want for a pound?" Co-Conspirator A then stated to

S. MORALES, "He said he's gonna get a hold of the other guy               right now to find that



5The voice identification of S. MORAIES in this complaint is based on previously intercepted
phone calls in which he is identified. by name ("Sheldon," "Sheil," or his nickname "Shock'),
surveillance that has corroborated" him as the user of the phone, and law enforcement's
previous experience with him in which officers heard his voice in person.



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out, but we want to send you some stuff first so you could try     it out."   S. MORALES

stated, "Okay." Co-Conspirator A asked, "Is that okay with you?" S. MORA.LES

responded, "That's cool." Later in the conversation, Co-Conspirator A stated, 'jYeah

he's gonna send you some of that white china fheroin], some white       girl [cocaine] and

some of   that ice [methamphetamine]. Is that straight?" S. MORALES             responded,

f'A'ight. Yeah, that's cool. But tell him to find out how much is the white girl [cocaine]

going for?"

       9.     Co-Conspirator   B then spoke on the phone and stated, "Hey, Shell

TSHELDON MORALES], it's me, man.' S. MORALES responded, "What's up?" Co-

Conspirator B replied, "Look, I want to send you the samples fi,rst 'cause if I give you

price right now, maybe you'Il say, 'No, this is too high'or some shit like that right? So

I want you to check the samples first. If you think it's good, we can make a d.eal.   So   I
need the ad.dress, [unintelligible] send the add.ress and you can check everything and

I grve you the price, and like that   you know if it's good or not." S. MORALES stated,

"Okay." Later that same day, at approximately 1L:32p.D., toll records from Target

Phone 2 show that S. MORALES sent a text message to (702) ffi-05g6, the same

number used by Co-Conspirator A in the above conversation, which law enforcement

believes contained a destination address on Davis Street       in Evanston (the "Davis
Street Address"), discussed further below.




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        S. MORAL,ES Discusses Receiving a Package  Containing Narcotics
         Samples with Co-Conspirator A, Individual A, and Individual C

         Call with Co-Conspirator A
         10.      On February 19, 2019, at approximately 72:19 p.o., during the court-

authorized wire intercept (caII session #1335), S. MORA.LES placed on outgoing call

using Target Phone 2         to   Co-Conspirator A who was using telephone number (7OZ)

tttttl-05g6. Law enforcement officers believe that during this conversation,               Co-

Conspirator       A told S. MORALES that he received information that the             package

containing the sample narcotics that Co-Conspirator                  A and Co-Conspirator   B

arranged, to have sent to S. MORAIES arrived at the Davis Street Add,ress.

         11.      More specifi.cally, during the conversation, Co-Conspirator A asked,

"You get the package [containing the sample narcotics] already?" S. MORALES

replied, "The tracking [number]?" Co-Conspirator A asked, "Did you get the package

already?" S. MORALES responded, "No, I'm not over there [the Davis Street

Address]. Is     it there   [has the package been delivered]?" Co-Conspirator A stated to

Co-Conspirator B in the background in Spanish, "He's not there." Co-Conspirator A

then stated to S. MORALES, *My homeboy said he sent                it off already and somebody
received   it   over there [the supplier sent the package to the Davis Street Address and

it   has already been delivered]." S. MORALES stated, "Hold on. Where's the tracking

number?" Co-Conspirator A asked., "The fax number?' S. MORALES replied, "The

tracking number.'i Co-Conspirator A asked Co-Conspirator B in the background" in

Spanish, "The [tracking] number for that?" Co-Conspirator                A then stated to S.
MORALES, "He was tracking             it   and he said   it   already got there." S. MORALES


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stated, "HoId on. Let me call my brother. When did            it get there?"   Co-Conspirator A

asked Co-Conspirator B in the background in Spanish, "When did [unintelligible]?"

Co-Conspirator A then stated to S. MORALES, "Maybe like 10-15 minutes ago." Later

in the conversation   S. MORALES stated,          "It'lI be there. If they just dropped it off 10

minutes ago, bro', It's gonna be there."

      Call utith Ind,iuid.ual A

       12.   On February 19,         zOLg,    at approximately 12.33 P.D., d.uring a court-

authorized wire intercept (call session #1339), S. MORALES placed an outgoing call

from Target Phone 2 to Individ.ual A who was using telephone number (870) ffi-

9195. Law enforcement officers believe that during this conversation, S. MORALES

attempted to get Individual A to pick up the package containing narcotics samples

from the porch of the Davis Street Address and hide          it away for S. MORALES to later

come and retrieve     it, but Individ.ual A would. only agree to go to the Davis Street
Address and watch the package as         it   sat on the porch until S. MORALES arrived.

      13.    More specifically, during the conversation S. MORA.LES asked, "Hey P

[nickname for Individual A], where you at?" Individual A replied,              "I'- in Skokie." S.
MORALES stated, "H"y,       d.o   me a favor, pull over by [the resident of the Davis Street

Address, Individual B'sl crib, right there on Davis [Street] right off of McCormick

[Boulevard, near the Davis Street Address]. Right around. the corner from my mom

house." Individ,ual   A   asked, "Okay,       I mean right now? 'Cause I'm about to ..." S.
MORALES stated, 'Yeah. Right frow." Individual A asked, 'You said Davis and

McCormick?" S. MORALES stated, "Right off McCormick. You know, right around




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from my mom house, where you used to meet me at [the Davis Street Address]. Pull

right there, it should be a package on the porch [of the Davis Street Address]. Grab

it for me." Individual A stated, "Man, hey, [unintelligible]..."       S. MORALES stated,

"Rut if you see anything funny then don't grab    it   ftook around for law enforcement or

anything suspicious before grabbing the package]." Individual A stated, "Huy, listen,

bro'... man, shit, you on your way [to the area of Davis Street and McCormick

Boulevard as well]?" S. MORALES replied, 'Yeah, I'm finna [going to] get dressed.

and come out there." Later in the conversation Individual A asked, "[Unintelligible]

you telling me ... I'm just trying to fi.gure out ... you're telling me." S. MORALES

stated, "Man, look, just go there. If there's a package on the porch, you can throw the

package somewhere where you think ... just throw        it   somewhere in the cut so I could

come get   it [ride it so that   S. MORALES can get    it later]. I just   don't want the bitch

findividual B] to grab it.' Individual A stated, "Uh, I could watch it. I could watch         it
even though   I don't have [unintelligible], but I could watch the mother fucker [rather

than pick it up]." S. MOMLES stated, "AI1 right, go there and watch it for me. f'm

finna fly out there fte on his way over]." Individual A stated, "Man, you gotta come

now because..." S. MORALES stated, "I'm coming now. Hey, go there and make sure

it's [the package] still there, and make sure the bitch findividual B] didn't take it [the

package]   in the house." Individual A      asked, 'lOkay. Wait            a minute, you   said.

McCormick and ... ?" S. MORALES stated, ';It's lDavis Street Address]. Go down my

mom's block, right down the side street and make a right right there. It's that house

right there on the corner." Later in the conversation        S. MORALES stated, "Just see




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if the package is there. That's it. Just   go there and see   if it's right there." Individual

A   stated", "Okay.   I'm going now. You said [Davis Street Addressl?" S. MORALES

stated, 'Yeah, [Davis Street Address]."

        Call with Indiuidual C

        14.    On February 19, 20t9, at approximately 12:55 p.D., during a court-

authorized. wire intercept (caII session #1348), S. MORALES ptaced an outgoing call

from Target Phone 2 to Individual C who was using telephone number (773) ffi-

 877I. Law enforcement offi.cers believe that during two phone conversations,

S MORALES asked Individual         C to go to the Davis Street Address and retrieve the

package and put    it in the trunk ofan orange     car at Spex, a local business, and that

Individual C agreed

        15. During the conversation S             MORALES stated, "Where you             at?"

Individual   C stated, "My daddy   [with her father]."6 S. MORALES stated, "Hgy, hurry

up, run up by [Individual B's home at the Davis Street Address in Evanston]. It's

something on her porch; grab      it for me." Individuat C asked, "Really, Sieldon?"       S.

MORALES stated, "Man, they [Co-Conspirator A and Co-Conspirator B] just called

me out the blue and just told me [that the package had arrived]." Individual C stated;

"And   I been calling you since this morning."    S. MORA.LES stated, "Man,       I'm telling

you they [Co-Conspirator A and Co-Conspirator B] just called me out the blue."

Individual C stated in the background, "Dad"dy, I'll be back."


6Individual C's voice was identified based on previously recorded conversations in which she
is identified by name, references to her family relationship to S. MORALES, and sirrveillance
ofher actions in the context ofthe recorded conversations.


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       16.         On February 79, zOLg, at approximately 1:06 p.m., during a court-

authorized wire intercept (call session #1352), S. MORALES placed an outgoing call

from Target Phone 2 to Individual C who was usinl 973) ffi-877L. During the

conversation Individual C stated, "Yeah?" S. MORALES stated", "Hey, take                            it   [the

packagel up to [Carwash A in Skokie]. Put                  it   [the package] in the car, the car that's

up at [Carwash A], the orange car."

       17   - At       approximately 5:45          p.r., law enforcement                offi.cers observed.

S. MORALES arrive at Carwash A                in Skokie and look in the trunk of an orange car.

At the same time, during a court-authorized wire intercept (call session #1392),                          S.

MOR/.LES placed an outgoing call from Target Phone 2 to Individual C who was

using (773) tftftt-8777. During the conversation S. MORALES asked Individual                              C,

"what did you do with the thing [package]?" Individual C replied, "It's [the package

isl still in my car. I'm by Daddy [her father's residence]." S. MORALES stated, "Oh, I

thought you put       it   [the package] in   trunk   [of the orange car at Carwash A]. I told yzou

..." Individual C stated, "No, I had to go to an appointment." Later in the conversation

S. MORALES, asked, "Why didn't Siou             tell me that?" Individual        C replied, "Nigga, you

kept on   'I'11   caII you right back' every time I'm telling you something [so she did not

have a chance to tell him d.uringprevious phone calls]." S. MORAT,ES stated, ;'That's

crazy." Individual C stated, "I'm up here by daddy."

      18. A           short time later,       at   approximately 6:01          p.fl.,   d.uring   a court-
authorized" wire intercept (call session #1398), S. MORALES placed an outgoing caII

from Target Phone 2 to Individual C who was using (773) flttt-8777. During the




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conversation, Individual C stated, "Yeah." S. MORALES stated, "Yeah, I'11be up there

in Iike 10 minutes [at [her] father's resid"ence]." Individual C replied., "Af,right."

         19. At approximately 6:46 p.r., surveillance offi.cers observed
S. MORA.LES arrive at a nursing home in Wilmette, Illinois, park in its lot, and then

walk inside of the building. At approximately 7:05 p.m., surveillance offiicers observed

S. MORALES and          Individual C exit the nursing home and walk to Individual C's car.

Individual   C retrieved a package from her vehicle and turned     it over to S. MORALES

who opened     it   and removed items, which he placed in his pockets.

                     S. MORALES Discusses  the Narcotics Samples
                      With Co-Conspirator A on February 20,20'J,9
         20.   On or about February      20,Zlilg,at approximately l2:44p.ffi., during       a

court-authorized. wire intercept (call session #I4gg), S. MORALES received an

incoming call to Target Phone 2 fuom Co-Conspirator A, who was using (702)               ffi-
0596. Law enforcement offi.cers believe that during the conversation, S. MORALES

and Co-Conspirator A discussed the samples of narcotics that Co-Conspirator A sent

to S. MORALES.

        2L.    During the conversation, Co-Conspirator A stated, "Everything's good?

You like that candy [samples of narcotics previously sent to S. MOR/.LES]?"

S.   MORALES responded, 'Yeah, but you got to send" me price." Co-Conspirator A

stated, "Yeah, what do you want to work with [which of the types of narcotics        d"o   you

want to purchase]?" S. MORA.LES responded, "Shit, both of them                  good,." Co-

Conspirator     A     asked, *Can    I ask you something? Was it the ice cream
[methamphetamine]? The icy [methamphetamine]? And what was the other one?"



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S. MORA.LES responded, "The             fentanyl." Co-Conspirator A replied, "Oh, okay.          So

what you wann a       do?" S.   MORALES asked, "Shit, what's the price for the fentanyl?"

Co-Conspirator A replied, "What is that, the white               girl   [cocaine]?" S. MORALES

respond.ed., "No,   it wasn't no white girl [cocaine]." Co-ConspiratorA       asked., "The   white

china [heroin]?" S. MORALES responded, "No, it was some purple shit. TeIt him what

was t}l:at?'t Co-Conspirator        A   stated   in   Spanish    to   Co-Conspirator   B in     the

background,        "It was purple colored. [unintelligrble.] Was it that                        ice

[methamphetamine]?" MORALES stated, "No, I'm thinking maybe it was some H

[heroin]." Co-Conspirator A asked, "H [heroin]? ... Oh, shit, I'm tryrng to fi.gure it out.

It wasn't brown?" S. MORALES             responded, "No,   it   was purple." Co-Conspirator A

stated   in Spanish to Co-Conspirator B in the background, "It                was purple." Co-

Conspirator B respond.ed, "Tell him that I'm going to ask right now." Co-Conspirator

A then advised S. MORALES, "He's going to call to make sure what it is- But which

one did you like?" S. MORALES responded, "Shit, the purple shit is decent." Co-

Conspirator A asked, "It tastes good?" S. MORALES responded., 'Yeah, they said                    it
was decent.     I had someone taste it ltry the sample]. I didn't         even ask them what      it
was. I just told them to taste      it. They said it was good, but       now you got me second

guessing.   I   gotta go check with them to see what the fuck is it." Co-Conspirator A

asked, "Can you give me 2 minutes? I'mma caIl my homeboy to make sure what                   it is."
S. MORA,LES respond.ed, 'Yeah." Co-Conspirator             A stated, "Okay, but answer the
phone. I'mma hit you up for sure." S. MORALES responded, "All right, call me right

back."




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 S. MORALES and Co-Conspirator A and Co-Conspirator B Discuss               Pricing
        of Methamphetamine for a Future Narcotics Transaction

       22.   On February 22, 2019, at approximately 4:35 p.m., during a court-

authorized wire intercept (call session#t746), S. MORALES received. an incoming

call to Target Phone 2 from Co-Conspirator A who was using (7OZ) ttttlt-0596. Law

enforcement offi.cers believe     that during the   conversation S. MORALES, Co-

Conspirator A and Co-Conspirator B discussed methamphetamine pricing and Co-

Conspirator A obtaining better-quality heroin for future narcotics transaction, all of

which they would discuss later.

       23.   More specifically, d.uring the conversation, S. MORALES stated, i'I got

the people on the phone real quick.': Co-Conspirator A stated., "AII right. But how

much [uninteltigible], well what you wanna do? You wanna work with     it [buy drugs]
or no?" S. MORALES replied, 'Yeah, yeah, no, I'm talking to my homeboy. My
homeboy he finna caII me right back. Can you call me back in ten minutes? No, we

gon' do something. We gon' do something with the ice [methamphetamine] for sure.

You hear?" Co-Conspirator A asked Co-Conspirator B in Spanish in the background,

"Three thousand. what?" Co-Conspirator B replied, "Three thousand one hundred-

frfty." S. MORALES stated again, "We gon' do something with the                    ice

tmethamphetamine] for sure. I'm trying to find out what's up [tatk to his associate

about it]." Co-Conspirator A stated, "He [Co-Conspirator B] says uh, he says, he says

the ice [methamphetamine] for the price will be three thousand one hundred and    fifty
bucks [$3,150 per pound]." S. MORALES replied, 'Yeah, nah,      I know that. I   know.

Nah, we gon' do something with that for sure." Later         in the conversation S.


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MORATFS stated, "H"y, listen, hey um, tell me that, hey, you can't get no, no

different D [Can you get better quality heroin]? No different uh, the uh, heroin [do

you have better quality heroin]?" Co-Conspirator A stated, "Well yeah but, but we

have to call our homeboy, and we don't want to call him, and then tell him and he's

gonna uh." S. MORALES stated, 'You gotta tell him'cause             I gotta   fi.nd out what you

got fi.rst, so you gotta let me know. Send. me something or let me know what the fuck

it is. I   can't just,   I just .,. [S. MORALES wants Co-Conspirator A to tell Co-
ConspiratorA's supplier about the heroin because S. MORALES               need.s   to know if Co-

Conspirator A has better quality heroin]." Later in the conversation, Co-Conspirator

A stated, 'Yeah, he's going to call his homeboy and see what's up [Co-Conspirator B

is going to caII his supplier and see if he has better quality heroin]. You know if he

have different shit [heroin] but he don't want to be calling him a lot." S. MORALES

stated., 'fBro', I'm serious bro'.   I ain't about no bullshit, bro'." Co-Conspirator A stated,

"No and he knows that. He knows you're good for it. He knows your word is good ...

my homeboy [supplier]. So um, you want us, we call him or do you want us to give

you a call or what's up?" S. MORA,LES stated, "Yeah, I want you to call him. See if he

got some d.ifferent shit [different better-quality heroin]." Co-Conspirator A stated.,

"All right. We'Il give you a call like in a hour."    S. MORALES stated,       "AlI right, cool."

    Between February 22,2019 and February 28,20Lg, S. MORALES and
       Co-Conspirator A Continue to Comrnunicate About Narcotics

       24-     According to toll records from Target Phone 2, between the intercepted

call above on February 22,2019 and the call descri.bed below on February 28,20L9,

Target Phone     2 and, (702) ttlttf-Oilgl exchanged approximately 25 texts, including


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approximately 12 outgoing texts from Target Phone 2 to (702) tftttl-0596 and               1"3


incoming texts to Target Phone 2 fuom (702) lttttt-05g6.

         25.   On Febrdary 28, 2079, at approximately 10:33 &.r., during a court-

authorized wire intercept (call session #2660), S. MORALES received an incoming

call to Target Phone ZfuomCo-Conspirator A who was using telephone number (7A2)

lttftt-A596. During the conversation, S. MORALES stated, "Check your text message.

I'm in school. I'm at the school bro." According to toll records from Target Phone 2, at

approximately 10:35 &.r., Target Phone 2 received an incoming text message from

(702)ttt{1t-0596, and then at approximately 10:39 a.m. and 10:50 &.D., Target Phone 2

sent outgoing text messages to (702)tftftl-0596. Law enforcement officers believe that

based on the investigation to date, including the events d.escribed below, the text

messages exchanged. between S. MORALES and (702) tltttt-Olgl concerned a future

narcotics transaction, including the amounts               of methamphetamine that Co-
Conspirator A and Co-Conspirator B would          send"   to S. MORALES.

         26.   On February 28,20Lg, at approximately L2:Lg p.D., d.uring a court-

authorized. wire intercept (call sessi on#2703), S. MORALES placed an outgoing call

from Target Phone 2 to Co-Conspirator A who was using (702) tfttlt-0596. During the

conversation, Co-Conspirator A, stated, "f spoke to my homeboy earlier but he wanna

do   it like this. Look they wanna send. everything like the first time, mail. 'Cause he
said he dont tike-- He [unintelligible] his stuff to the customers so he wanna send. you

with the mail and he want you to send the money back in the same thing [for the first

narcotics transaction, the supplier   will   senct   the narcotics to   S. MOR.A.LES   in the



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mail, and S. MORALES should send the money back by maill." S. MORALES stated,

"That ain't no problem, bro." Later in the conversation Co-Conspirator A, stated,

'Yeah, 'cause the guy is gonna send you the stuff [the narcotics] in the mail. He wants

you to [unintelligible] over there." S. MORALES stated., "Yeah." Co-Conspirator A

stated, "The guy, he gonna send you the stuff [the narcotics] in the mail. He was

saying that, the money back tS. MORALES should send. the money back in the.maill."

S. MORALES asked, "The money the same way [send the money back                  in the mail]?"

Co-Conspirator A replied, 'Yeah, the money right back           in the mail." S. MORAIES
stated,   "I got you, bro." Later in the conversation, Co-Conspirator A stated, "Hey,
dude. It's got a tracking d.evice. Whenever    it   gets there, we're gonna know it's there."

S. MORALES stated, "Okay, cool ..."

      27.      On February 28,2019, at approximately 4:00 p.m., during a court-

authorized wire intercept (call   sessi   on #2730), S. MORALES received an incoming

call to Target Phone 2 fromCo-Conspirator A who was using (7O2) flfll-O5g6.During

the call, Co-Conspirator A stated, "H"y, my homie wants to tell you something. Uh...

he's gohna send you 10 of the ice [10 pounds of methamphetamine]. And 200 of the

other one [the purple substance previously discussed]." S. MORALES replied, "Okay."

Co-Conspirator A asked, "Is that cool? Just so we can start off with?" S. MORALES

stated, "Just so we can start off yeah, that's cool." Co-Conspirator A stated, 'Alright.

Once you get   that and you   send- us the   thing back, we'Il   send"   you the rest [once   S.

MORALES receives the narcotics and S. MORALES sends the money, suppliers will




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send more narcotics]." S. MORALES stated, "Absolutely." Co-Conspirator      A asked,

"Is that straight [alright] with you?" S. MORALES stated, "Yeah."

      Law Enforcement Officers Take Control of Package Intended for
              the Davis Street Address in Evanston, Illinois

       28.    On March   l,z)lg,based    on the aforementioned intercepted telephone

calls, law enforcement set up surveillance in the area of the Davis Street Address in

Evanston, Illinois. While conducting surveillance, law enforcement offi.cers observed

a United States Parce1 ('UPS") truck around the corner from the Davis Street
Address. Law enforcement offi.cers approached the UPS driver and. identified

themselves as law enforcement personnel and asked the driver if he had any planned

deliveries to the Davis Street Address of packages weighing approximately ten

pounds or more. The driver responded affirmatively. Law enforcement officers asked

the driver to turn over the package to law enforcement. The driver consulted with

individuals at UPS and turned over the package to the officers.

       29.    Upon inspection, the package was mailed on February 28,2019, from

Los Angeles, California and was addressed. to "Patrick Miller       at [Davis Street
Ad.dress]," with a return ad.dress in Las Vegas, Nevada, and weighed" approximately

17 pounds.   A Canine Offrcer conducted a controlled substance detection test of the

package using a narcotics dog. The dog alerted to the package, which indicated the

odor of narcotics and./or controlled" substances in the package.

      30.     On March 1,20t9,1aw enforcement obtained a search warrant to search

the packa ge. SeeCase No. 19 M L42 ffaldez, J.) During the execution of the search

warrant, Iaw enforcement officers discovered suspect narcotics that were submitted


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to.the DEA North Central Laboratory. Laboratory testing found that the package

contained approximately.5.43 kilograms of methamphetamine in a large clear plastic

bag, and approximately 827 grams of fentanyl, which was a dark-colored substance

that had been wrapped in plastic wrap inside the paqkage.

 S. MORALES Discusses  with Co-Conspirator A and Co-Conspirator B the
    Undelivered Package of Narcotics that S. MORALES was Expecting

      31. On March 7, zOLg at approximately 11:15 &.il., during a court-
authorized wire intercept (caII session #2832), S. MORALES received an incoming

call to Target Phone 2 from Co-Conspirator A, who was using (702)ffi-0596. As set

forth below, law enforcement officers believe that during this              conversation,

S. MORALES, Co-Conspirator      A, and Co-Conspirator B d"iscusseil how and why the

package containing the methamphetamine and fentanyl that Co-Conspirator A and

Co-Conspirator B arranged to be sent to S. MORALES was not delivered to the Davis

Street Address, and how to get the package to S. MORALES.

      32.     During the call, Co-Conspirator A stated, "The. homie [supplier] had

called me and told me that they [the delivery company] went to drop offthe package

but nobod.y was there [at the Davis Street Address].' S. MORA.LES asked, 'You said

somebody went     to drop it off?" Co-Conspirator A    stated", 'Yeah, yeah,    they [the

delivery cgmpany] went to drop    it   off already and nobody was there [at the Davis

Street Addressl.' S. MORALES asked; "Why diddt you have           it   to where they just

dropped   it off [without the requirement that someone   be at the resid.ence in order to

complete the delivery]?" Co-Conspirator A stated, "IJh, I'm not sure."




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       33.   Later in the conversation, S. MORALES stated, "But you dont make             it
for them to deliver for somebod.y to get it, bro' 'cause if it's the police that's how the

shit gets popped off [that creates a risk to the person who has to be there.to accept     it
of getting caught by the police]." Co-Conspirator A asked Co-Conspirator B in the

background   in Spanish, "Where is it [the package containing the narcotics]?" Co-
Conspirator A then stated. to S. MORALES, "He's [the supplier is] gonna send you the

address so you can go pick    it [the package] up." S. MORALES asked, "Go pick it       [the

package] up from where?" Co-Conspirator A rtplied, "From the office [the delivery

company's office] I think or from ..." Co-Conspirator A asked Co-Conspirator B in the

background in Spanish, "Where?" Co-Conspirator A then stated to S. MORALES, "He

[Co-Conspirator B] said call my and he's gonna give you the add,ress and the number

where it's at.[the delivery company holding the package]."

       34.   Later in the conversation S. MORALES stated, "I'm not gonna risk my

people to go pick something up and" then fuck around., come on, bro' tS. MORALES is

not comfortable with putting one of his associates at risk of being identified or caught

by law enforcement if they were to go pick up a package of narcotics in person]." Co-

Conspirator A stated, 'Yeah, I know what you mean. I know, my bad, they just called

us right now and told us that nobody was there so [the supplier just called and told

Co-Conspirator   ,A.   and Co-Conspirator B that the delivery company advised that

nobody was home and therefore the package was not delivered]i'

      35.    Later in the conversation, S. MORALES stated., "So where is           it   [the

package containing the narcotics]?" Co-'Conspirator A stated, "We're gonna send the




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    address [to the delivery company] right now so you can send somebody for it. Is that

.   cool?" S. MORALES responded, "Yeah. Psst." Co-Conspirator                       A stated, 'You don't

    have to sign       it,   anybody else can sign    it but we're gonna       send you the ad.dress and

    everything right now so you can go get it [the package]. Is that straight [is that ok]?"

    Later in the conversation Co-Conspirator A stated., "If not, they're gonna go back                     til
    Monday to drop            it   off like that ... [uninte[igible] somebody is there [at the Davis

    Street Address]." S. MORALES asked, 'You say it's gonna go back [be delivered] on

    Monday?" Co-Conspirator A stated, 'Yeah. Un1ess you wanna go and pick                        it   up right

    now?" Co-Conspirator B stated to Co-Conspirator A                   in the background in Spanish,

    "TelI him the sticker [the message from the delivery company] says that they were

    [unintelligible], if you still don't go get it, they'Il go back and drop it off 'til Mondayl."

    S. MORALES stated, "Hey,               I rather they   go drop   it off on Mond"ay, bro' and I watch

    [ke"p an eye out for the delivery]. Bro' 'cause ain't no way, they were supposed to

    leave     it   there." Later in the conversation Co-Conspirator A stated, "He said he is

    gonna call him and find out all this shit [about the delivery] and then we're gonna                    hit

    you up again, right now." S. MORALES stated, 'Yeah, tetl him to call. TeII him to go

    back where he sent the package and tell them that                - tell him to tell them just drop it
    off and leave      it    [without requiring a signature]." Co-Conspirator A replied, "Okay, I

    got you." S. MORALES stated, "Alright, appreciate                 it, bro'."

              36.      Shortly afber this phone call, at approximately Ll:26 ?.D., S. MORA.LES

    called.   Individual C at telephone number 77g-tttfit-877l              and, asked",   "can you stop by

    findividual B's] front porch [at the Davis Street Address] and see. Some people just



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went to drop something off over there and were nobody there to get it. So can you

grab the piece of paper that they keft,?" Individual C responded "Yup." S. MORALES

added'And if the paper ain't on the door then knock on the door and tell her to give

it to you."   Ind.ivid.ual C responded.,
                                           *alright."

       37. At        approximately 2:05 p.m. that day, law enforcement conducting

..rr@[..rce on the Davis Street Address observed Ind"ividual C arrive and park in
front of the Davis Street Address.T Moments later, Individual C exited the vehicle

while holding a cell phone to her ear. Individual C then walked to the front of the

house and was greeted" by an unidentified female (believed to be Ind.ividual B) who

was inside and opened the front door of the residence. Surveillance observed

Individuat    C   hand Individuat B the cell phone she was talking on as she was entering

the residence.

       38. At approximately, 2:12 p.m., S. MORALES               called Individual C at

telephone number 77g tftttf-87VL, and.had the following exchange:

       S. MORALES: Did you ever grab that?

       Individual C: I just pulled outside the door. Ain't no damn thing on'her- a sign
       so she must have put it in the house. Hold on, I'm walking out the car right
       now.

       S. MORALES: Is her car there?

       Individual C: Mm-hum.
       S. MORALES: Yeah, some         lil bitch   got   it.



7Surveillance Officers had been supplied with photographs of Infividual C. Her identity was
confirmed the photo comparison, the surveillance of her on February L9, 2019, and the
contemporaneous phone call set forth in paragraph 38.



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   Individual C: She doesn't answer her damn door.
   S. MORAIES: She gonna try to ignore you. If not telI DJ [D. MORALES] to
   give you her number. Gotta watch that [U/I] give that shit to the police.

   Individuat C: Mm-hm. [To Individual B]. Hey. Did you get a ticket thing for
   some mail?

   S. MORALES: Yeah, they did. they dropped        it   off.

   Individual C [to Individuat B]: For a package or sornething?

   Individual B: You talking about the certified mail?

   Individual C [to Individual B]: Yeah
   Individual B: I dont think QiI).

   Individual C [to Individuat B]: They say they put it on today, they say they put
   one on the door today.

   Individual B: We aint get no paper.

   Individual C [to Individual B]: Not today?
   Individual B: Uh-uh

   S. MORALES: Yes they did. They did        this morning.

   Individual C [to Individual B]: He said they did it this morning, they said they
   sent them a thing that said.

   Individual B: No, because my riailman, I told him to bring anything that    need,s
   to be signed for on Saturdays when I'm actually home.

   Individual C [to Individuat B]: Oh
   S. MORA.LES:   It was FedEx.
   Individual C [to Ind.ividual B]: He said it was Fed.Ex.
   Individ,ual B: Oh

   S. MORALES: They came      earlier and they left [U/I].

   Individual C: She said. they did,n't leave a thing. She said, they didn't thing no
   FedEx thing on the door today. She said she been here, they ain't bring no



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        FedEx stuffhere today.

        S. MORALES: She didn't hear them knocking on the door?

        Individuat C [to Individuat B]: He said, nobod5i knocked on the door?

        Individual C [to S. MORALES]: She says, "No, not today." She been here, she
        in her pajamas.
        S. MORALES: So they ain't leave no thing?

        Ind.ividual C: Nothing, ain't nothing on [U/I]?

        S. MORALES: What did she say?

        Individual C: She said she had told them already, the regular mail carrier, if
        it was regular mail, that any- if it's packages, bring it on Saturday. She said
        FedEx ain't come
    ,
        S. MORALES: Tell her to look on her camera.

        Individual C [to Individuat B]: He said check your camera if you see any FedEx
        people that'came by today'cause they claim they Ieft a s1ip.

        Individual B: Come on in.

        findividual    C   talks aside to the dog.] [Pause]

        Individual B: Who is this package (U/IX

        Individual C [to Individual B]: Huh? Sheldon.
        S. MORA,LES: You shouldn't had told her my name.      I   d.on't know why the fuck
        you just gave her my name.

        Individual C: [U/I]

        [caII end.s]

        39.    Law enforcement retained control of the subject package and directed

the shipping company to return a substitute package to the sender address, which

the shipping company included in its online tracking information. The package was

never delivered to the Davis Street Address.




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                                      CONCLUSION

        40.      Based on the facts set forth above, there is probable cause to conclude

that   S. MORALES attempted to possess      with intent to distribute and distribute over

500 grams of        a mixture and substance       containing   a   detectable amount of

methamphetamine




                                          Task Force Offi.cer, Drug Enforeement
                                          Administration


.SUBSCRIBED AND SWORN to before me on November 7,2019.


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